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   UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF NEW YORK
   -------------------------------------------------------X
   MARIA DELCID ORELLANA, individually
   and on behalf of others similarly situated,

                                      Plaintiff,                          COMPLAINT

                    -against-
                                                                 COLLECTIVE ACTION UNDER
   JAFET TILE MARBLE CORP. (d/b/a JAFET                               29 U.S.C. § 216(b)
   TILE), FORMIA MARBLE STONE INC
   (d/b/a FORMIA MARBLE AND STONE)., ,                                         ECF Case
   JAFET MILBER MARTINEZ, and FILIPPO
   BERTA,

                                       Defendants.
   -------------------------------------------------------X

          Plaintiff Maria Delcid Orellana (“Plaintiff Delcid” or “Ms. Delcid”), individually and on

 behalf of others similarly situated, by and through her attorneys, Michael Faillace Esq., upon her

 knowledge and belief, and as against Jafet Tile Marble Corp. (d/b/a Jafet Tile), Formia Marble

 Stone Inc. (d/b/a Formia Marble and Stone), (“Defendant Corporations”), Jafet Milber Martinez

 and Filippo Berta, (“Individual Defendants”), (collectively, “Defendants”), alleges as follows:

                                            NATURE OF ACTION

        1.       Plaintiff Delcid is a former employee of Defendants Jafet Tile Marble Corp. (d/b/a

Jafet Tile), Formia Marble Stone Inc. (d/b/a Formia Marble and Stone), Jafet Milber Martinez, and

Filippo Berta.
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        2.      Defendant Jafet Milber Martinez owns, operates, or controls a tile installation

subcontractor , under the name “Jafet Tile Marble Corp”. (d/b/a Jafet Tile), whose principal office

is located at 143-09 101st Avenue, Jamaica, New York 11435.

        3.      The source of Jafet Tile’s installation work is Formia Marble stone inc. (d/b/a Formia

Marble and Stone), located at 219 E 11TH Avenue, Roselle, New Jersey 07203.

        4.      In fact, Formia Marble Stone inc. not only provides Jafet Tile Marble Corp. with

all the materials to complete the projects , but it also closely manages the work Jafet tile Marble

corp. employees perform at each project.

        5.      Upon information and belief, individual Defendants Jafet Milber Martinez and

Filippo Berta, serve or served as owners, managers, principals, or agents of Defendant Corporations

and, through these corporate entities , operate or operated the construction worker Corporations as a

joint or unified enterprise.

        6.      Plaintiff Delcid was employed as a construction worker at projects in Manhattan,

Queens, and Brooklyn. However, most projects she worked in were located in Manhattan.

        7.      Specifically from approximately 2021 until on or about 2023, Plaintiff Delcid

worked in a project located at 10 E. 29th Street in Manhattan (the 29th street project), from

approximately 2023 until on or about 2024 she worked at 253 W. 71 st Street in Manhattan (the 71st

Street project), and from approximately 2023 until on or about 2024 she worked on the night shift

at 5 Penn Plaza in Manhattan(west 33rd street project).

        8.      At all times relevant to this Complaint, Plaintiff Delcid worked for Defendants in

excess of 40 hours per week, without appropriate minimum wage or overtime compensation for any

of the hours that she worked each week.

        9.      Rather, Defendants failed to maintain accurate recordkeeping of the hours worked

and failed to pay Plaintiff Delcid appropriately for any hours worked in a week.

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         10.     In addition, Defendants repeatedly failed to pay Plaintiff Delcid wages on a timely

basis.

         11.     Defendants’ conduct extended beyond Plaintiff Delcid to all other similarly situated

employees.

         12.     At all times relevant to this Complaint, Defendants maintained a policy and practice

of requiring Plaintiff Delcid and other employees to work in excess of forty (40) hours per week

without providing the minimum wage and overtime compensation required by federal and state law

and regulations.

         13.     Plaintiff Delcid now brings this action on behalf of herself , and other similarly

situated individuals, for unpaid minimum and overtime wages pursuant to the Fair Labor Standards

Act of 1938, 29 U.S.C. § 201 et seq. (“FLSA”), and for violations of the N.Y. Labor Law §§ 190 et

seq. and 650 et seq. (the “NYLL”), including applicable liquidated damages, interest, attorneys’ fees

and costs.

         14.     Plaintiff Delcid seeks certification of this action as a collective action on behalf of

herself , individually, and all other similarly situated employees and former employees of

Defendants pursuant to 29 U.S.C. § 216(b).

                                    JURISDICTION AND VENUE

         15.     This Court has subject matter jurisdiction under 28 U.S.C. § 1331 (federal question)

and the FLSA, and supplemental jurisdiction over Plaintiff Delcid’s state law claims under 28 U.S.C.

§ 1367(a).

         16.     Venue is proper in this district under 28 U.S.C. § 1391(b) and (c) because all, or a

substantial portion of, the events or omissions giving rise to the claims occurred in this district,

Defendants maintain their corporate headquarters and offices within this district, and Defendants




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operate a construction worker company located in this district. Further, Plaintiff Delcid was

employed by Defendants in this district.

                                                  PARTIES

                                                   Plaintiff

         17.     Plaintiff Maria Delcid Orellana (“Plaintiff Delcid” or “Ms. Delcid”) is an adult

individual residing in Bronx County, New York. Plaintiff Delcid was employed by Defendants at

"Jafet Tile Marble Corp. from approximately August 2021 until on or about July 2024.

         18.     Plaintiff Delcid consents to being a party plaintiff pursuant to 29 U.S.C. § 216(b),

and brings these claims based upon the allegations herein as a representative party of a prospective

class of similarly situated individuals under 29 U.S.C. § 216(b).

                                               Defendants

         19.     At all relevant times, Defendants own, operate, or control a Tile installation

subcontractor, located at 143-09 101st Avenue, Jamaica, New York 11435under the name “JAFET

TILE MARBLE CORP. (d/b/a Jafet Tile), and perform all their work for Formia Marble stone inc.

(d/b/a Formia Marble and Stone) located at 219 E. 11th Ave., Roselle, New Jersey, 07203 .

         20.     Upon information and belief, Jafet Tile Marble Corp. (d/b/a Jafet Tile) is a domestic

Corporation organized and existing under the laws of the State of New York. Upon information and

belief, it maintains its principal place of business at 143-09 101st Avenue, Jamaica, New York

11435.

         21.     Upon information and belief, Formia Marble stone inc. (d/b/a Formia Marble and

Stone) is a domestic Corporation organized and existing under the laws of the State of New Jersey .

Upon information and belief, it maintains its principal place of business at 219 E. 11th Ave., Roselle,

New Jersey, 07203 .




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       22.     Defendant Jafet Milber Martinez is an individual engaging (or who was engaged) in

business in this judicial district during the relevant time period. Defendant Jafet Milber Martinez is

sued individually in his capacity as owner, officer and/or agent of Defendant Corporation. Defendant

Jafet Milber Martinez possesses operational control over Defendant Corporation, an ownership

interest in Defendant Corporation, and controls significant functions of Defendant Corporation. He

determines the wages and compensation of the employees of Defendants, including Plaintiff Delcid,

establishes the schedules of the employees, maintains employee records, and has the authority to

hire and fire employees.

       23.     Defendant Filippo Berta is an individual engaging (or who was engaged) in business

in this judicial district during the relevant time period. Defendant Filippo Berta is sued individually

in his capacity as owner, officer and/or agent of Defendant Corporation. Defendant Filippo Berta

possesses operational control over Defendant Corporation, an ownership interest in Defendant

Corporation, and controls significant functions of Defendant Corporation.

                                    FACTUAL ALLEGATIONS

                                Defendants Constitute Joint Employers

       24.     Defendants operate a tile installation subcontractor whose main office is located in

Queens county, New York, but it performed most of its tile installation work in New York city.

       25.     Individual Defendants, Jafet Milber Martinez and Filippo Berta, possess operational

control over Defendant Corporations, possess ownership interests in Defendant Corporations, and

control significant functions of Defendant Corporations.

       26.     Defendants are associated and joint employers, act in the interest of each other with

respect to employees, pay employees by the same method, and share control over the employees.

       27.     Each Defendant possessed substantial control over Plaintiff Delcid’s (and other

similarly situated employees’) working conditions, and over the policies and practices with respect

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to the employment and compensation of Plaintiff Delcid, and all similarly situated individuals,

referred to herein.

       28.       Defendants jointly employed Plaintiff Delcid (and all similarly situated employees)

and are Plaintiff Delcid’s (and all similarly situated employees’) employers within the meaning of

29 U.S.C. 201 et seq. and the NYLL.

       29.       In the alternative, Defendants constitute a single employer of Plaintiff Delcid and/or

similarly situated individuals.

       30.       Upon information and belief, Individual Defendants Jafet Milber Martinez and

Filippo Berta operate Defendant Corporations as either alter egos of themselves and/or failed to

operate Defendant Corporations as entities legally separate and apart from themselves, by among

other things:

                a) Failing to adhere to the corporate formalities necessary to operate Defendant

                   Corporations as Corporations,

                b) Defectively forming or maintaining the corporate entities            of Defendant

                   Corporations, by, amongst other things, failing to hold annual meetings or

                   maintaining appropriate corporate records,

                c) Transferring assets and debts freely as between all Defendants,

                d) Operating Defendant Corporations for their own benefit as the sole or majority

                   shareholders,

                e) Operating Defendant Corporations for their own benefit and maintaining control

                   over these Corporations as closed Corporations,

                f) Intermingling assets and debts of their own with Defendant Corporations,

                g) Diminishing and/or transferring assets of Defendant Corporations to avoid full

                   liability as necessary to protect their own interests, and

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              h) Other actions evincing a failure to adhere to the corporate form.

        31.      At all relevant times, Defendants were Plaintiff Delcid’s employers within the

meaning of the FLSA and New York Labor Law. Defendants had the power to hire and fire Plaintiff

Delcid, controlled the terms and conditions of employment, and determined the rate and method of

any compensation in exchange for Plaintiff Delcid’s services.

        32.      In each year from 2021 to 2024, Defendants, both separately and jointly, had a gross

annual volume of sales of not less than $500,000 (exclusive of excise taxes at the retail level that are

separately stated).

        33.      In addition, upon information and belief, Defendants and/or their enterprise were

directly engaged in interstate commerce. As an example, numerous items that were used in the

construction worker Corporations on a daily basis are goods produced outside of the State of New

York.

                                           Individual Plaintiff

        34.      Plaintiff Delcid is a former employee of Defendants who was employed as a

construction worker.

        35.      Plaintiff Delcid seeks to represent a class of similarly situated individuals under 29

U.S.C. 216(b).

                                     Plaintiff Maria Delcid Orellana

        36.      Plaintiff Delcid was employed by Defendants from approximately August 2021 until

on or about July 2024.

        37.      Defendants employed Plaintiff Delcid as a construction worker.

        38.      Plaintiff Delcid regularly handled goods in interstate commerce, such as construction

worker materials and other supplies produced outside the State of New York.

        39.      Plaintiff Delcid’s work duties required neither discretion nor independent judgment.

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       40.     Throughout her employment with Defendants, Plaintiff Delcid regularly worked in

excess of 40 hours per week.

       41.     From approximately August 2021 until on or about January 2023, Plaintiff Delcid

worked on the 29th Street project from approximately 7:00 a.m. until on or about 5:40 p.m. Mondays

through Fridays (typically 53.33 hours per week).

       42.     From approximately February 2023 until on or about July 2024, Plaintiff Delcid

worked on the 71st Street project from approximately 8:00 a.m. until on or about 4:30 p.m. Mondays

through Fridays (typically 42.5 hours per week).

       43.     However, on November 2023 and January 2024, Plaintiff Delcid worked at the

33rdStreet project from approximately 8:00 a.m. until on or about 11:00 p.m. Mondays through

Fridays and from approximately 6:30 a.m. until on or about 7:00 p.m. on Saturdays (typically 87.5

hours per week).

       44.     Throughout these years of work, Defendants also required Plaintiff Delcid to work

on and off on projects in Brooklyn (1490 E. 7th St. and 2085 Ocean Parkway).

       45.     Throughout her employment, Defendants paid Plaintiff Delcid her wages in cash.

       46.     From approximately August 2021 until on or about June 2023, Defendants paid

Plaintiff Delcid a fixed salary of $600.00 per week.

       47.     From approximately July 2023 until on or about July 2024, Defendants paid Plaintiff

Delcid a fixed salary of $800.00 per week.

       48.     Plaintiff Delcid’s pay did not vary even when she was required to stay late or work a

longer day than her usual schedule.

       49.     In fact, throughout most of her employment with defendants, Plaintiff delcid worked

an extra three to four hours past her departure time one or two days a week, and was not compensated

for the additional time she worked.

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                50.       Defendants paid Plaintiff Delcid her wages every three weeks and in many

       occasions defendants did not pay Plaintiff Delcid any wages for her work.

                51.       Specifically, For approximately seven weeks from 2023 to           2024 ,

       Defendants did not pay Plaintiff Delcid any wages for her work; thus, at present Defendants

       owe Plaintiff Delcid approximately $6000.

                52.       On the 29th Street and 71st Street projects, Plaintiff Delcid was only

       required to sign her name into a book at the beginning of her shift, while on the 33rd street

       project, she was not required to keep track of her time, nor to her knowledge, did the

       Defendants utilize any time tracking device such as punch cards, that accurately reflected her

       actual hours worked.

       53.      No notification, either in the form of posted notices or other means, was ever given

to Plaintiff Delcid regarding overtime and wages under the FLSA and NYLL.

       54.      Defendants did not provide Plaintiff Delcid an accurate statement of wages, as

required by NYLL 195(3).

      55.       Defendants did not give any notice to Plaintiff Delcid, in English and in Spanish

(Plaintiff Delcid’s primary language), of her rate of pay, employer’s regular pay day, and such other

information as required by NYLL §195(1).

      56.       Defendants required Plaintiff Delcid to purchase “tools of the trade” with her own

funds- including 1 box of Blades each month, 1 or 2 knives per year , 3 sponges per month, 12

brushes     and 2 rolls of blue tape per week.

                                   Defendants’ General Employment Practices

      57.       At all times relevant to this Complaint, Defendants maintained a policy and practice

of requiring Plaintiff Delcid (and all similarly situated employees) to work in excess of 40 hours a




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week without paying him appropriate minimum wage or overtime compensation as required by

federal and state laws.

       58.      Plaintiff Delcid was a victim of Defendants’ common policy and practices which

violate her rights under the FLSA and New York Labor Law by, inter alia, not paying her the wages

she was owed for the hours she worked.

       59.      Defendants’ pay practices resulted in Plaintiff Delcid not receiving payment for all

her hours worked, and resulted in Plaintiff Delcid’s effective rate of pay falling below the required

minimum wage rate.

       60.      Defendants habitually required Plaintiff Delcid to work additional hours beyond her

regular shifts but did not provide her with any additional compensation.

       61.      Defendants   willfully    disregarded     and purposefully evaded recordkeeping

requirements of the FLSA and NYLL by failing to maintain accurate and complete timesheets and

payroll records.

       62.      Defendants paid Plaintiff Delcid her wages in cash.

       63.      Defendants failed to pay Plaintiff Delcid’s wages on a timely basis; specifically,

Defendants only paid Plaintiff Delcid every three weeks and in seven occasions, they did not pay

her at all.

       64.      Defendants failed to post at the workplace, or otherwise provide to employees, the

required postings or notices to employees regarding the applicable wage and hour requirements of

the FLSA and NYLL.

       65.      Upon information and belief, these practices by Defendants were done willfully to

disguise the actual number of hours Plaintiff Delcid (and similarly situated individuals) worked,

and to avoid paying Plaintiff Delcid properly for her full hours worked.




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      66.      Defendants engaged in their unlawful conduct pursuant to a corporate policy of

minimizing labor costs and denying employees compensation by knowingly violating the FLSA and

NYLL.

      67.      Defendants’ unlawful conduct was intentional, willful, in bad faith, and caused

significant damages to Plaintiff Delcid and other similarly situated former workers.

      68.      Defendants failed to provide Plaintiff       Delcid and other employees with accurate

wage statements at the time of their payment of wages, containing: the dates of work covered by that

payment of wages; name of employee; name of employer; address and phone number of employer;

rate or rates of pay and basis thereof, whether paid by the hour, shift, day, week, salary, piece,

commission, or other; gross wages; deductions; allowances, if any, claimed as part of the minimum

wage; net wages; the regular hourly rate or rates of pay; the overtime rate or rates of pay; the number

of regular hours worked; and the number of overtime hours worked, as required by NYLL §195(3).

      69.      Defendants failed to provide Plaintiff Delcid and other employees, at the time of

hiring and on or before February 1 st of each subsequent year, a statement in English and the

employees’ primary language, containing: the rate or rates of pay and basis thereof, whether paid by

the hour, shift, day, week, salary, piece, commission, or other; allowances, if any, claimed as part of

the minimum wage, including tip, meal, or lodging allowances; the regular pay day designated by

the employer; the name of the employer; any “doing business as” names used by the employer; the

physical address of the employer's main office or principal place of business, and a mailing address

if different; and the telephone number of the employer, as required by New York Labor Law §195(1).



                             FLSA COLLECTIVE ACTION CLAIMS

      70.       Plaintiff Delcid brings her FLSA minimum wage, overtime compensation and

liquidated damages claims as a collective action pursuant to FLSA Section 16(b), 29 U.S.C. § 216(b),

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on behalf of all similarly situated persons (the “FLSA Class members”), i.e., persons who are or

were employed by Defendants or any of them, on or after the date that is three years before the filing

of the complaint in this case (the “FLSA Class Period”).

      71.      At all relevant times, Plaintiff Delcid and other members of the FLSA Class were

similarly situated in that they had substantially similar job requirements and pay provisions, and

have been subject to Defendants’ common practices, policies, programs, procedures, protocols and

plans including willfully failing and refusing to pay them the required minimum wage, overtime pay

at a one and one-half their regular rates for work in excess of forty (40) hours per workweek under

the FLSA and willfully failing to keep records under the FLSA.

      72.      The claims of Plaintiff     Delcid stated herein are similar to those of the other

employees.

                                         FIRST CAUSE OF ACTION
                 VIOLATION OF THE MINIMUM WAGE PROVISIONS OF THE FLSA

      73.      Plaintiff Delcid repeats and realleges all paragraphs above as though fully set forth

herein.

      74.      At all times relevant to this action, Defendants were Plaintiff Delcid’s employers

(and employers of the putative FLSA Class members) within the meaning of the Fair Labor

Standards Act, 29 U.S.C. § 203(d).

      75.      Defendants had the power to hire and fire Plaintiff Delcid(and the FLSA class

members), control the terms and conditions of employment, and determine the rate and method of

any compensation in exchange for employment.

      76.      At all times relevant to this action, Defendants were engaged in commerce or in an

industry or activity affecting commerce.




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      77.         Defendants constitute an enterprise within the meaning of the Fair Labor Standards

Act, 29 U.S.C. § 203 (r-s).

      78.         Defendants failed to pay Plaintiff Delcid(and the FLSA Class members) at the

applicable minimum hourly rate, in violation of 29 U.S.C. § 206(a).

      79.         Defendants’ failure to pay Plaintiff Delcid(and the FLSA Class members) at the

applicable minimum hourly rate was willful within the meaning of 29 U.S.C. § 255(a).

       80.     Plaintiff Delcid(and the FLSA Class members) were damaged in an amount to be
determined at trial.
                                 SECOND CAUSE OF ACTION
                  VIOLATION OF THE OVERTIME PROVISIONS OF THE FLSA
      81.         Plaintiff Delcid repeats and realleges all paragraphs above as though fully set forth

herein.

          82.     At all times relevant to this action, Defendants were Plaintiff Delcid’s employers

(and employers of the putative FLSA Class members) within the meaning of the Fair Labor

Standards Act. 29 U.S.C. § 203(d). Defendants had the power to hire and fire Plaintiff Delcid (and

the FLSA Class members), controlled the terms and conditions of employment, and determined the

rate and method of any compensation in exchange for her employment.

          83.     At all times relevant to this action, Defendants were engaged in commerce or in an

industry or activity affecting commerce.

          84.     Defendants constitute an enterprise within the meaning of the Fair Labor Standards

Act. 29 U.S.C. § 203 (r-s).

      85.         Defendants, in violation of 29 U.S.C. § 207(a)(1), failed to pay Plaintiff Delcid (and

the FLSA Class members) overtime compensation at a rate of one and one-half times the regular

rate of pay for each hour worked in excess of forty hours in a work week.




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      86.          Defendants’ failure to pay Plaintiff Delcid (and the FLSA Class members), overtime

compensation was willful within the meaning of 29 U.S.C. § 255(a).

      87.          Plaintiff Delcid (and the FLSA Class members) were damaged in an amount to be

determined at trial.

                                      THIRD CAUSE OF ACTION
                    VIOLATION OF THE NEW YORK MINIMUM WAGE RATE


            208.    Plaintiff Delcid repeats and realleges all paragraphs above as though fully set

 forth herein.

            209.    At all times relevant to this action, Defendants were Plaintiff Delcid’s employers

 within the meaning of the N.Y. Lab. Law §§ 2 and 651. Defendants had the power to hire and

 fire Plaintiff Delcid(and the FLSA Class members), control terms and conditions of

 employment, and determine the rates and methods of any compensation in exchange for

 employment.

            210.    Defendants, in violation of the NYLL, paid Plaintiff Delcid (and the FLSA Class

 members) less than the minimum wage in violation of NYLL § 652(1) and the supporting

 regulations of the New York State Department of Labor.

            211.    Defendants’ failure to pay Plaintiff Delcid(and the FLSA Class members)

 minimum wage was willful within the meaning of N.Y. Lab. Law § 663.

            212.    Plaintiff Delcid(and the FLSA Class Members) were damaged in an amount to be

 determined at trial.

                                    FOURTH CAUSE OF ACTION
                          VIOLATION OF THE OVERTIME PROVISIONS
                             OF THE NEW YORK STATE LABOR LAW




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      88.       Plaintiff Delcid repeats and realleges all paragraphs above as though fully set forth

herein.

      89.      At all times relevant to this action, Defendants were Plaintiff Delcid’s employers

within the meaning of the N.Y. Lab. Law §§ 2 and 651. Defendants had the power to hire and fire

Plaintiff Delcid , controlled the terms and conditions of her employment, and determined the rates

and methods of any compensation in exchange for her employment.

      90.      Defendants, in violation of N.Y. Lab. Law § 190 et seq., and supporting regulations

of the New York State Department of Labor, failed to pay Plaintiff Delcid overtime compensation

at rates of one and one-half times the regular rate of pay for each hour worked in excess of forty

hours in a work week.

      91.      Defendants’ failure to pay Plaintiff Delcid overtime compensation was willful within

the meaning of N.Y. Lab. Law § 663.

      92.      Plaintiff Delcid was damaged in an amount to be determined at trial.

                                   FIFTH CAUSE OF ACTION
                   VIOLATION OF THE NOTICE AND RECORDKEEPING
                    REQUIREMENTS OF THE NEW YORK LABOR LAW


      93.       Plaintiff Delcid repeats and realleges all paragraphs above as though fully set forth

herein.

      94.      Defendants failed to provide Plaintiff Delcid with a written notice, in English and in

Spanish (Plaintiff Delcid’s primary language), containing: the rate or rates of pay and basis thereof,

whether paid by the hour, shift, day, week, salary, piece, commission, or other; allowances, if any,

claimed as part of the minimum wage, including tip, meal, or lodging allowances; the regular pay

day designated by the employer; the name of the employer; any “doing business as" names used by

the employer; the physical address of the employer's main office or principal place of business, and

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a mailing address if different; and the telephone number of the employer, as required by NYLL

§195(1).

      95.         Defendants are liable to Plaintiff Delcid in the amount of $5,000, together with costs

and attorneys’ fees.

                                      SIXTH CAUSE OF ACTION
                     VIOLATION OF THE WAGE STATEMENT PROVISIONS
                                  OF THE NEW YORK LABOR LAW
      96.          Plaintiff Delcid repeats and realleges all paragraphs above as though fully set forth

herein.

      97.         With each payment of wages, Defendants failed to provide Plaintiff Delcid with an

accurate statement listing each of the following: the dates of work covered by that payment of wages;

name of employee; name of employer; address and phone number of employer; rate or rates of pay

and basis thereof, whether paid by the hour, shift, day, week, salary, piece, commission, or other;

gross wages; deductions; allowances, if any, claimed as part of the minimum wage; net wages; the

regular hourly rate or rates of pay; the overtime rate or rates of pay; the number of regular hours

worked; and the number of overtime hours worked, as required by NYLL 195(3).

      98.         Defendants are liable to Plaintiff Delcid in the amount of $5,000, together with costs

and attorneys’ fees.

                                    SEVENTH CAUSE OF ACTION
                     VIOLATION OF THE TIMELY PAYMENT PROVISIONS
                                  OF THE NEW YORK LABOR LAW


          99.      Plaintiff Delcid repeats and realleges all paragraphs above as though set forth fully
herein.
     100. Defendants did not pay Plaintiff Delcid on a regular weekly basis, in violation of
NYLL §191.
     101. Defendants are liable to Plaintiff Delcid in an amount to be determined at trial.



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                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Delcid respectfully requests that this Court enter judgment

against Defendants by:

        (a)    Designating this action as a collective action and authorizing prompt issuance of

notice pursuant to 29 U.S.C. § 216(b) to all putative class members apprising them of the pendency

of this action, and permitting them to promptly file consents to be Plaintiffs in the FLSA claims in

this action;

        (b)    Declaring that Defendants violated the minimum wage provisions of, and

associated rules and regulations under, the FLSA as to Plaintiff Delcidand the FLSA class

members;

        (c)    Declaring that Defendants violated the overtime wage provisions of, and associated

rules and regulations under, the FLSA as to Plaintiff Delcid and the FLSA Class members;

        (d)    Declaring that Defendants violated the recordkeeping requirements of, and

associated rules and regulations under, the FLSA with respect to Plaintiff Delcid’s and the FLSA

Class members’ compensation, hours, wages, and any deductions or credits taken against wages;

        (e)    Declaring that Defendants’ violations of the provisions of the FLSA were willful

as to Plaintiff Delcid and the FLSA Class members;

        (f)    Awarding Plaintiff Delcid and the FLSA Class members damages for the amount

of unpaid minimum and overtime compensation and damages for any improper deductions or

credits taken against wages under the FLSA as applicable;

        (g)    Awarding Plaintiff Delcid and the FLSA Class members liquidated damages in an

amount equal to 100% of her damages for the amount of unpaid minimum and overtime

compensation, and damages for any improper deductions or credits taken against wages under the

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FLSA as applicable pursuant to 29 U.S.C. § 216(b);

        (h)       Declaring that Defendants violated the minimum wage provisions of, and rules and

orders promulgated under, the NYLL as to Plaintiff Delcidand the members of the FLSA Class;

        (i)       Declaring that Defendants violated the overtime wage provisions of, and rules and

orders promulgated under, the NYLL as to Plaintiff Delcid;

        (j)       Declaring that Defendants violated the notice and recordkeeping requirements of

the NYLL with respect to Plaintiff Delcid’s compensation, hours, wages and any deductions or

credits taken against wages;

        (k)       Declaring that Defendants violated the timely payment provisions of the NYLL as

to Plaintiff Delcid;

        (l)

        (m)       Declaring that Defendants’ violations of the provisions of the NYLL were willful

as to Plaintiff Delcid;

        (n)       Awarding Plaintiff Delcid damages for the amount of unpaid minimum and

overtime compensation, and for any improper deductions or credits taken against wages as

applicable

        (o)       Awarding Plaintiff   Delcid damages for Defendants’ violation of the NYLL

timeliness, notice and recordkeeping provisions, pursuant to NYLL §§191, 198(1-b), 198(1-d);

        (p)       Awarding Plaintiff Delcid liquidated damages in an amount equal to one hundred

percent (100%) of the total amount of minimum and overtime compensation shown to be owed

pursuant to NYLL § 663 as applicable; and liquidated damages pursuant to NYLL § 198(3);

        (q)       Awarding Plaintiff Delcid and the FLSA Class members pre-judgment and post-

judgment interest as applicable;




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       (r)       Awarding Plaintiff Delcid and the FLSA Class members the expenses incurred in

this action, including costs and attorneys’ fees;

       (s)       Providing that if any amounts remain unpaid upon the expiration of ninety days

following issuance of judgment, or ninety days after expiration of the time to appeal and no appeal

is then pending, whichever is later, the total amount of judgment shall automatically increase by

fifteen percent, as required by NYLL § 198(4); and

       (t)       All such other and further relief as the Court deems just and proper.

                                         JURY DEMAND

         Plaintiff Delcid demands a trial by jury on all issues triable by a jury.

Dated: New York, New York
       April 3, 2025
                                                          MICHAEL FAILLACE ESQ.

                                               By:               /s/ Michael Faillace
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